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                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                             FOR THE TENTH CIRCUIT                                April 6, 2023
                         _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 ALEJANDRO MENOCAL, et al.,

        Plaintiffs - Appellees,

 v.                                                            No. 22-1409
                                                   (D.C. No. 1:14-CV-02887-JLK-MEH)
 THE GEO GROUP, INC.,                                           (D. Colo.)

        Defendant - Appellant.
                       _________________________________

                                      ORDER
                         _________________________________

        This matter is before the court once again on Plaintiffs-Appellees’ Motion to File a

Provisionally Sealed Volume of the Supplemental Appendix (the “Motion”). The

appellees indicated that they did not believe the materials in the supplemental appendix

would need to be filed under seal in this court but were seeking leave to do so because the

materials were filed under seal in the district court proceedings. This court entered an

order directing any party that wished to respond to the Motion to file their responses

within 10 days. We now have Appellant’s Response to Plaintiffs-Appellees’ Motion to

File a Provisionally Sealed Volume of the Supplemental Appendix (the “Response”), in

which the appellant describes in detail why it believes the materials in the appellees’

supplemental appendix should be and remain filed under seal in this court.

        Upon consideration of the Motion and the Response, the Motion is provisionally

granted subject to reconsideration by the panel of judges that will later be assigned to
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decide this appeal. Unless the court orders otherwise, both the electronic and hard copy

versions of the appellees’ supplemental appendix will remain under seal.


                                             Entered for the Court
                                             CHRISTOPHER M. WOLPERT, Clerk


                                             by: Lara Smith
                                                 Counsel to the Clerk




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